                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             ________________
                             SOUTHERN           DIVISION
                                No. ________________
                                    7:23-CV-897




___________________________,
CAMP LEJEUNE WATER LITIGATION                )
                                             )
                         Plaintiff,          )
                                             )        MOTION FOR ADMISSION
                  v.                         )          PRO HAC VICE
UNITED STATES OF AMERICA                     )          and AFFIDAVIT
___________________________,                 )
                                             )
                         Defendant.          )


       __________________________
       Katarina K. Wong           (“Local Counsel”), a member in good standing with the

Bar of the United States District Court for the Eastern District of North Carolina (“EDNC”), moves

for the admission of _____________________
                     Waymon Peer           (“Applicant”), who seeks permission to represent

_______________________________________________________________
the National Academy of Sciences                                (“Client”) in this

above-captioned Camp LeJeune Justice Act case.

       By signing this motion, Local Counsel and Applicant certify that:

       1.      Applicant is a member in good standing of the bar of the highest court of the State

or Territory where Applicant regularly practices law, which is ___________________.
                                                               Washington, D.C.


       2.      Applicant practices under the name of or as a member of the following firm:

Firm name: ____________________________________________________________________
           Venable LLP


Mailing Address: _______________________________________________________________
                 600 Massachusetts Ave. NW


City / State / Zip: _______________________________________________________________
                    Washington, D.C. 20001


Telephone Number: _______________________
                  202-344-4244            Facsimile Number: ______________________
                                                            202-344-8300


Email Address (required): ________________________________________________________
                          WTPeer@venable.com




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3.     Applicant certifies that s/he is also admitted to practice before and remains in good standing

with the Courts in the following jurisdictions: ________________________________________
                                                Arkansas


______________________________________________________________________________

______________________________________________________________________________

       4.      Applicant certifies s/he has never been the subject of any formal suspension or

disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction

or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice

before any judicial or administrative body suspended or revoked; and never received public

discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, Applicant

must attach a separate explanation including particular information disclosing the disciplinary

history or denial of admission.

       5.     Applicant certifies that the client requested Applicant to represent s/he in this matter,

along with Local Counsel.

       6.      Applicant agrees to be subject to the Orders of the EDNC, including the Local Rules

of the EDNC, and amenable to the disciplinary action of the civil jurisdiction of the EDNC in all

respects as if Applicant were a regularly admitted and licensed member of the Bar of this court.

       7.       Local Counsel is satisfied that Applicant is qualified to practice before the Bar of

the EDNC.

       8.       The required $100 fee for admission pro hac vice in this case is being submitted

with the filing of this motion.

       9.      Applicant consents to electronic notification and is a registered CM/ECF filer in

the EDNC or will submit an Electronic Filing Attorney Registration Form within seven days if this

motion is granted.



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        By signing this Motion, we so certify.



        This, the ________
                  4th      day of ___________________,
                                  June                 20__.
                                                         24




        ______________________________
        /s/ Katarina K. Wong                                  ______________________________
                                                              Waymon T. Peer

        Local Counsel                                         Applicant


Attorney Name:       Katarina K. Wong

Bar Number:          N.C. State Bar No. 55040

Firm Name:           Brooks, Pierce, McLendon, Humphrey & Leonard LLP

Firm Address:        150 Fayetteville Street, Suite 1700

Firm City/State/Zip: Raleigh, NC 27601
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